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February 13, 2025
Information Memo for the Acting Director

                            Christopher Johnson, Associate Director, Consumer Response &
 FROM
                            Education
 SUBJECT                    Divisional Staffing



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Issue
This purpose of this memorandum is to provide information about how the staff of the Consumer
Response and Education Division align to the Consumer Financial Protection Bureau’s (CFPB’s)
statutory obligations.

Divisional Background
The Consumer Response and Education Division (CRE) is responsible for executing the CFPB’s
first two statutory functions: (1) conducting financial education programs, and (2) collecting,
investigating, and responding to consumer complaints. See 12 USC 5511(c)(1)-(2). CRE is the
public face of the CFPB to individuals and their families, delivering scalable services and tools
designed to empower consumers to share their experiences in the marketplace, respond to
challenges, and make better informed financial decisions.

There are two offices within CRE: the Office of Financial Education and the Office of Consumer
Response. Financial Education is responsible for managing a suite of more than 50 educational
tools and resources, distributing those tools to users, and researching the effectiveness of financial
education programs. Financial Education is also responsible for supporting the Director’s
membership in the Financial Literacy and Education Commission. Financial Education’s content
is some of the most frequently visited content on the CFPB’s website.

Consumer Response is responsible for answering questions, handling complaints, and sharing data
and insights. Consumer Response manages the CFPB’s toll-free number and complaint program
from end-to-end. Consumer Response is also responsible for assisting complaint process
stakeholders (e.g., responding to congressional members with their constituents’ complaints,
assisting Company Portal users as they respond to their customer’s concerns) and sharing
complaint information with Federal and State agencies.

The current headcount for CRE is approximately 150-155 full-time employees. The
functional areas listed below aligned to statutory responsibilities total approximately 80 to
85.




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Office of Financial Education
12 USC 5493(d) requires the Director to “establish an Office of Financial Education, which shall
be responsible for developing and implementing initiates intended to educate and empower
consumers to make better informed financial decisions.” There is one competitive area within the
Financial Education, responsible for delivering several statutory obligations:

   x   Developing and implementing initiatives intended to educate and empower consumers to
       make better informed financial decisions. See 12 USC 5493(d)(1).
   x   Developing and implementing a strategy to improve the financial literacy of consumers
       that includes measurable goals and objectives, in consultation with the Financial Literacy
       and Education Commission. See 12 USC 5493(d)(2).
   x   Coordinating with other units within the Bureau in carrying out its functions, including
       working with the Community Affairs Office to implement the strategy to improve financial
       literacy of consumers; and working with the research unit established by the Director to
       conduct research related to consumer financial education and counseling. See 12 USC
       5493(d)(3).
   x   Submitting a report on its financial literacy activities and strategy to improve financial
       literacy of consumers See 12 USC 5493(d)(4).

The current headcount for this area is 12.

Office of Consumer Response
12 USC 5493(b)(3)(A) requires the Director to “establish a unit whose functions shall include
establishing a single, toll-free telephone number, a website, and a database … to facilitate the
centralized collection of, monitoring of, and response to consumer complaints regarding consumer
financial products and or services.” 12 USC 5534(a) requires the CFPB “to provide a timely
response to consumers, in writing where appropriate, to complaints against, or inquiries
concerning, a covered person.” 15 USC 1681i(e) establishes a process by which the CFPB must
act and report out on certain credit and consumer reporting complaints. Consumer Response must
coordinate with certain CFPB offices and personnel, including the Private Student Loan
Ombudsman and Office of Servicemember Affairs. See 12 USC 5493(e), 12 USC 5535.

Consumer Response has several competitive areas:

Consumer Resource Center
12 USC 5493(b)(3)(A) directs the CFPB to create establish a single, toll-free number. This team
manages a Consumer Resource Center (CRC), which receives more than 40,000 calls per month.
The CRC answers consumers’ inquiries, accepts and provides status updates on complaints, and
directs consumers resources such as state and local services.

The current headcount for this area is 3.

Complaint Handling
12 USC 5534(a) requires the CFPB to timely respond to consumers, including any responses
received by the regulator from the covered person. This team directs the complaints to companies
for a response.



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The current headcount for this area is 7.

Portal Operations
12 USC 5534(b) requires certain covered persons to provide a timely response to the regulator.
This team is responsible for responding to stakeholder support tickets, including tickets submitted
by company, congressional, and government portal users.

The current headcount for this area is 7.

Mosaic Program
12 USC 5493(b)(3)(A) directs the CFPB to create establish a database to facilitate the centralized
collection of complaints. 12 USC 5493(b)(3)(D) requires the CFPB to share consumer complaint
information with prudential regulators, the Federal Trade Commission, other Federal agencies, and
State agencies. This team manages the technology that facilitates the handling of more than
350,000 complaints per month

The current headcount for this area is 5.

Investigations (Regulatory Compliance, Complaint Monitoring, Research and Analysis,
Escalation Case Management)
12 USC 5511(c)(2) requires the CFPB to “investigate” complaints. Additionally, 12 USC
5493(b)(3)(A) requires the CFPB to “monitor” complaints. This team is responsible for
monitoring and investigating the more than three million complaints the CFPB receives annually.
This team conducts investigative inquiries received by the Director’s Office. This team also
conducts analyses that support the Chief of Staff’s team efforts to meet the publication of statutory
reports and supports rule lookback assessments as required by 12 USC 5512.

The current headcount for this area is 30.

Data Reporting
12 USC 5493(e) and 12 USC 5535 requires Consumer Response to coordinate with the Office of
Servicemember Affairs and the Private Student Loan Ombudsman, respectively. This team is
responsible for working with these offices for their complaint monitoring work.

The current headcount for this area is 4.

Stakeholder Engagement
12 USC 5493(b)(3)(A) directs the CFPB to “coordinate with the Federal Trade Commission or
other Federal agencies to route complaints to such agencies, where appropriate.” Additionally, 12
USC 5493(b)(3)(D) requires the CFPB to “share consumer complaint information with prudential
regulators, the Federal Trade Commission, other Federal agencies, and State agencies …”. This
team is responsible for working with federal and state agencies, including state Attorneys General.

The current headcount for this area is 5.




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Chief of Staff Team
Consumer Response is responsible for publishing or contributing to the publication of several
reports. Those reports include:

   x   Consumer Response Annual Report (as required by 12 USC 5493(b)(3)(D))
   x   Fair Credit Reporting Act 611(e) Report (as required by 15 USC 1681i(e)(5))
   x   Fair Debt Collection Practices Act Report (as required by 15 USC 1692m)
   x   CFPB Semi-Annual Reports (required by 12 USC 5496)

This team is responsible for the production and publication of these reports, including any follow-
up questions from oversight bodies.

The current headcount for this area is 5.

Management and Operations
This team provided the executive direction for both offices within the division. The current
divisional executives each have a dual role both division and office level executives. The office
level executive positions remain vacant. The team also provides centralized support to each office
regarding resource management functions including budget, acquisition management, training,
management reporting, and coordination with internal and external stakeholders, and oversight
bodies such as GAO and OIG.

The current headcount for this area is 5.




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